ek Colin Purrington @colinpurringten - Oct 10
Breaking ~)~ naw: bc Aas stopped nie ee vee
aaisilrliele) AM OAL

SEAR HCO CRA ADOR Pell Seanon Fes.

Breck OH Tabak Cenk ihe aed Catalin fhe Ramee

Solutivs, deve £ Perey Thess Shore Pens beqaes

Ragen Shi: Mesut Pres Beskyooderten Pyphn
AE aeaket

S ek a 7 capa + BR garaysen apie teh

Yo ties aE

Sot HTWR86e mettre

 

taal
Nanna age myst ee wena Mee

a acne Lune hte Aa ees - 7A AI gE RGB He nee
FWA MDP AAR a BH
on 1 ANGRRE FARRER ue ni ota, dao aaa Aah RAA,
eet es ALAA, pen ort an FAME RARE ELAR a a ee AP ae GE
ee leds Hie ews Deftctensgeeiariee
. FUTIAN SAC RL HN ada HE AST can h Bengbieuen
[aU EH AREA YEH EMI AR i Alana eG AL OCH
sour MeL ihatd a eA HA Et ee
EL LIM TARE RC RCO GIGS HE Bec AMEE a CMe
A EME ATR NAA Cogs BO En mT a EINE 8
harni lebe, gua Angie Hea
reir ee peamanueminguaRIMh ofbneqieg HME tea
eng Stictaes, aUnipaiphiops thats het id peTaho ry idlyeH
Wea tatty aad ep i Ake
4 Sci arse Mio Se TT RNA ORL, REL RATE PR
ecu ante Piet ttadaie Figo FREI Bee Nah
eins sem aa DEMEANOR,

Colle Purgington @colin Pomel at . v
This might be related to the efforts by @EPA a ara

reUGle uc ne naseiet geri (se) ete & Rodenticide Act. Spartan
Mosquito and distributers often make health ral ce ied violate the
FIFRA aie il it isa

: perern Services LLC FIFRA Settlement | US EPA
' This ig the information sheet far

eens ia)

ates

te is 10 4

Bre fae Pe resellers revea the ns re the piernien aa ane
onal diseases. All in Re Meta) “ the aia bea 4] (2)

FR Pa nevicced neeatain
Ae tare ante 0 ot 2 San

Pah octane ouk gtaat ALT daa: one fqalse Eetepmaliceny chig

 

Adeddiy asunllecbore situs tnt cauies poalu awed iu,
Eyirneeyg Sosy eegit detected Je Bode, EXHIBIT

Co

est ia a phew ie ee Chere

%
=
ao
4
4 Bia um apy tes C3 dvermnpes gh Genre = pu
77)
-

a

 
